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                    IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                              EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                ) CASE NO. 1:02-CR-05101 AWI
11                                            )
                                              )
12                       Plaintiff,           ) ORDER FOR DISMISSAL OF INDICTMENT
                                              )
13                 v.                         )
                                              )
14   ROBERTO CARLOS PEREZ TORRES,             )
     JR.                                      )
15                                            )
                         Defendant.           )
16                                            )
                                              )
17
18
19         IT IS HEREBY ORDERED, that the Indictment against ROBERTO
20   CARLOS PEREZ TORRES, JR., be dismissed in the interest of justice
21   and without prejudice.
22
23   IT IS SO ORDERED.
24   Dated:   June 10, 2009                      /s/ Anthony W. Ishii
     0m8i78                             CHIEF UNITED STATES DISTRICT JUDGE
25
26
27
28
     MOTION AND ORDER FOR DISMISSAL OF INDICTMENT

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